       Case 8:22-cv-02597-DKC          Document 45       Filed 06/09/23     Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                Plaintiffs,

          v.                                                    Civil Action No. DKC 22-2597

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                    Defendants.
  __________________________________________

  NORTHERN VIRGINIA CITIZENS’
  ASSOCIATION,

                        Plaintiff,

          v.                                                    Civil Action No. DKC 22-3336

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                        Defendants.


       NOTICE OF LODGING SUPPLEMENTAL ADMINISTRATIVE RECORD

       Federal Defendants give notice of lodging a supplement to the administrative record. A

declaration certifying the supplemental documents to be included in the administrative record is

attached as Exhibit 1. The index for the supplement to the administrative record is attached as

Exhibit 2. A copy of the supplement to the administrative record has also been separately sent to

Plaintiffs’ counsel.
       Case 8:22-cv-02597-DKC   Document 45     Filed 06/09/23   Page 2 of 3



Dated: June 9, 2023

                                    Respectfully submitted,

                                    TODD KIM
                                    Assistant Attorney General

                                    By: /s/ Samuel R. Vice
                                    SAMUEL R. VICE
                                    FRANCES B. MORRIS
                                    Trial Attorneys
                                    Natural Resources Section
                                    Environment and Natural Resources Division
                                    U.S. Department of Justice
                                    P.O. Box 7611
                                    Washington, D.C. 20044-7611
                                    Tel: (202) 353-5540
                                    Email: samuel.vice@usdoj.gov
                                    Email: frances.morris@usdoj.gov

                                    Counsel for Federal Defendants




                                       2
       Case 8:22-cv-02597-DKC          Document 45        Filed 06/09/23      Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of June 2023 a copy of the foregoing Notice of Lodging

of the Administrative Record has been electronically filed with the Clerk of Court and served on

all registered parties via CM/ECF.

                                                            By: /s/ Frances B. Morris
                                                            FRANCES B. MORRIS




                                                3
